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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

No. 13 Civ. 3477 (AK HE) No. 13 Civ. 4442 (AKH)
Target Corporation et al., 7-Eleven, Inc. et al.,
Plaintiffs, Plaintiffs,
Vv v
Visa Inc. et al., Visa Inc. et al.,
Defendants. Defendants.

JOINT STIPULATION CONCERNING PRETRIAL SCHEDULE

WHEREAS, the above-captioned actions were recently remanded to this Court for trial,
having completed pre-trial proceedings in Jn re Payment Card Interchange Fee and Merchant
Discount Antitrust Litigation, 05-md-1720 (MKB)JAM);

WHEREAS, on August 7, 2024, the Court ordered that trial will begin on October 20,
2025 and that three plaintiffs from the 7-Eleven Action (Circle K, the Gap, Inc., and Marathon
Petroleum Company LP) and three plaintiffs from the Target Action (Macy’s, Inc., Target
Corporation, and the TJX Companies, Inc.) will present their claims at trial (see ECF No. 59 in
the 7-Eleven Action and ECF No. 140 in the Target Action);

WHEREAS, on September 25, 2024, the Court so-ordered the parties’ Joint Stipulation
Concerming Expert Substitution and Supplementation (ECF No. 82 in the 7-E/even Action and
ECF No. 175 in the Target Action);

WHEREAS, the parties have agreed to a schedule for remaining pretrial procedures that
includes certain amendments to the supplemental expert discovery schedule;

NOW, THEREFORE, THE PARTIES STIPULATE AND AGREE to the following

pretrial schedule:
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November 1, 2024 Deadline to serve rebuttal expert reports other than Messrs. Kaplan
and Harvey

November 15,2024 | Defendants’ deadline to serve Kaplan and Harvey rebuttal expert
reports

November 18, 2024 Defendants’ deadline to serve back-up materials for Kaplan and
Harvey rebuttal expert reports

December 20, 2024 Deadline for the parties to complete depositions of experts
submitting supplemental reports and/or supplemental rebuttal!

reports
January 6, 2025 Parties exchange initial good faith witness lists (by noon);
Submit Joint Agenda for January 8 conference
January 24, 2025 — Parties may take depositions of newly disclosed, previously
May 30, 2025 undeposed fact witnesses
March 28, 2025 Parties exchange good faith exhibit lists
May 12, 2025 Parties exchange objections to good faith exhibit lists
June 25, 2025 Parties exchange supplemental/modified witness and exhibit lists;
Parties exchange deposition designations for depositions taken by
May 30, 2025
July 1, 2025 - Parties may take depositions of newly disclosed, previously
August 8, 2025 undeposed fact witnesses, if any (“Supplemental Depositions”)!
July 15, 2025 Parties exchange objections to newly served exhibits
July 18, 2025 Parties serve motions in limine
July 25, 2025 Parties exchange counter-designations of depositions taken by May
30, 2025
July 31, 2025 Parties exchange required components of joint pretrial order
August 8, 2025 Deadline to conclude all supplemental fact discovery and
disclosures

‘ While this period is primarily intended for depositions of witnesses first disclosed in
supplemental/modified witness lists, the parties may also depose third-party witnesses as needed.

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August 14, 2025 Parties exchange deposition designations for Supplemental
Depositions

July 31, 2025 — Parties negotiate objections to components of pretrial order

August 25, 2025

August 25, 2025 Parties exchange drafts of voir dire, jury instructions, and verdict
form

August 27, 2025 Parties exchange counter-designations for Supplemental
Depositions

August 28, 2025 Deadline for responses to motions in limine

September 4, 2025 Parties exchange reply deposition designations and objections to

counter-designations (for all depositions);
Parties exchange FRE 1006 exhibits

September 8, 2025

Submission of joint pretrial order (including deposition
designations, counter-designations and objections, and reply

-| ‘designations and objections to counter-designations; exhibit lists ~~

with objections and stipulations; and stipulated facts);

Parties submit respective proposed voir dire, jury instructions, and
verdict forms;

Motions in limine fully submitted

September 11, 2025

Deadline for objections to FRE 1006 exhibits

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Dated: November 4, 2024

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